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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 FEDERAL TRADE COMMISSION,

             Plaintiff,                            CIVIL ACTION NO.

       v.                                          1:04-CV-3294-CAP

 NATIONAL UROLOGICAL
 GROUP, INC., et al.,
             Defendants.



                                    ORDER

      This matter is before the court on the motion for relief from judgment

and for an accounting filed by the defendants Hi-Tech Pharmaceuticals, Inc.

(“Hi-Tech”), Jared Wheat, and Stephen Smith. [Doc. No. 1101]. The Federal

Trade Commission (“FTC”) has filed a response in opposition [Doc. No. 1102],

and the defendants have filed a reply brief [Doc. No. 1103]. The matter being

fully briefed, it is now ripe for consideration.

I.    Background

      On November 10, 2004, the FTC filed a complaint for permanent

injunction and other equitable relief against National Urological Group, Inc.,

National Institute for Clinical Weight Loss, Inc., Thomasz Holda, Michael

Howell, Terrill Mark Wright, M.D., Hi-Tech, Wheat, and Smith. [Doc. No. 1].
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The FTC alleged that the defendants were engaged in unlawful practices in

connection with the advertising, marketing, and sale of two purported weight

loss products (Lipodrene and Thermalean) and one purported erectile

dysfunction product (Spontane-ES). The court granted the FTC’s motion for

summary judgment against National Urological Group, Inc., National

Institute for Clinical Weight Loss, Inc., Thomasz Holda, Terrill Mark Wright,

M.D., Hi-Tech, Wheat, and Smith, awarding both monetary and injunctive

relief. [Doc. No. 219].1 On December 16, 2008, final judgment was entered

against these defendants (the “2008 Judgment and Permanent Injunction”).

[Doc. No. 230]. In addition to an injunction, the judgment awarded

$15,882,436 to the FTC for consumer redress. The defendants appealed the

judgment. [Doc. No. 242]. On March 5, 2010, the Eleventh Circuit Court of

Appeals (“Eleventh Circuit”) affirmed the judgment of this court. [Doc. No.

277].

        On May 31, 2012, the court directed Hi-Tech, Wheat, and Smith to

show cause why they should not be held in civil contempt for failing to comply

with the 2008 Judgment and Permanent Injunction. [Doc. No. 399]. The



1A Stipulated Final Order for Permanent Injunction and Settlement of
Claims For Monetary Relief against Howell was entered on June 1, 2005.
[Doc. No. 71].

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court held two bench trials and subsequently issued a 132-page order holding

Hi-Tech, Wheat, and Smith in contempt of Sections II, VI, and VII of the

2008 Judgment and Permanent Injunction. The court determined that the

defendants had violated the injunction by continuing to make representations

about four weight-loss products (Fastin, Stimerex-ES, Benzedrine, and a

reformulated version of Lipodrene) through a national advertising campaign

that lacked adequate substantiation.2 The court ordered disgorgement of

$40,120,950 as compensatory sanctions. Hi-Tech, Wheat, and Smith were

jointly and severally liable for $40,000,950, and Wright was liable for

$120,000. [Doc. No. 966 at 132]. On October 31, 2017, final judgment was

entered in the amount of $40,000,950.00 plus post-judgment interest at the

rate of 1.42% per annum against Hi-Tech, Wheat, and Smith (the “2017

Contempt Judgment”). [Doc. No. 969]. Hi-Tech, Wheat, and Smith appealed

the judgment. [Doc. No. 979]. The order of contempt and the entry of

sanctions was affirmed by the Eleventh Circuit on September 18, 2019. [Doc.

No. 995]. The Supreme Court denied certiorari on November 2, 2020. [Doc.

No. 1095].



2 The order also held Wright in contempt for violating Section II of a separate
final judgment and injunction. The court determined that he had violated
the injunction by endorsing Fastin with unsubstantiated claims.

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      Over the years, the FTC has applied for and received numerous writs of

continuing garnishment in an effort to collect on the $15 million and $40

million owed by the defendants on these two judgments. The defendants

have not been forthcoming in making payments towards these judgments.

On December 30, 2020, Hi-Tech, Wheat, and Smith moved to stay all

garnishment activity related to the 2017 Contempt Judgment and for an

accounting of all funds collected related to both the 2017 Contempt Judgment

and the 2008 Judgment and Permanent Injunction. [Doc. No. 1096]. After

briefing on the motion was completed, but before the court could issue an

order, Hi-Tech, Wheat, and Smith withdrew the motion.

      On May 13, 2021, Hi-Tech, Wheat, and Smith filed a motion for relief

from the 2017 Contempt Judgment and a renewed request for an accounting

of the funds collected on both the 2008 Judgment and Permanent Injunction

and the 2017 Contempt Judgment. [Doc. No. 1101]. They maintain that,

following the Supreme Court’s recent ruling in AMG Capital Mgmt., LLC v.

FTC, 141 S. Ct. 1341 (2021), it would be inequitable to continue to apply the

2017 Contempt Judgment against them. They aver that the FTC has already

collected over $18 million on two judgments that they maintain are now

illegitimate. The defendants assert that “[e]quity is the entire basis” for their




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motion. [Doc. No. 1103 at 6]. They challenge the FTC’s consumer redress

program and describe it as a charade. [Id. at 7].

II.   Analysis

      Hi-Tech, Wheat, and Smith (hereinafter collectively “the defendants”)

have moved for relief pursuant to Federal Rules of Civil Procedure 60(b)(5)

and 60(b)(6). They also ask the court to order the FTC to provide an

accounting of the funds that have been garnished in this action. The court

will address these three requests individually below.

      A. The defendants’ request for relief pursuant to Federal Rule
         of Civil Procedure 60(b)(5)

      Rule 60(b)(5) provides that the court may relieve a party from a final

judgment when “the judgment has been satisfied, released, or discharged; it

is based on an earlier judgment that has been reversed or vacated; or

applying it prospectively is no longer equitable.” The defendants argue that

“the equities of the situation . . . require that the Court afford Defendants

relief from the $40 Million Judgment.” [Doc. No. 1103 at 10]. They maintain

that the ruling in AMG Capital is “dispositive—equitably, the FTC cannot

continue to collect over $40 million to which it was never entitled in the first

place.” [Doc. No. 1101-1 at 21].




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      In AMG Capital, the Supreme Court ruled that Section 13(b) of the

Federal Trade Commission Act does not authorize the FTC to seek, or a court

to award, equitable monetary relief such as restitution or disgorgement. The

$15.9 million monetary relief included in the 2008 Judgment and Permanent

Injunction in this case was issued pursuant to Section 13(b). [Doc. No. 230].

Over $18 million dollars have been collected by the FTC to date in this case,

thus the $15.9 million portion of that judgment has been satisfied. The

defendants do not seek the return of the entire $15.9 million that has been

collected. [Doc. No. 1103 at 6]. They agree with the FTC that the ruling in

AMG Capital is not retroactive and thus does not apply to the $15.9 million

monetary relief in the 2008 Judgment and Permanent Injunction. [Id.]. In

essence, the defendants’ position is that the $40 million 2017 Contempt

Judgment “flows from” the imposition of the $15.9 million monetary relief in

the 2008 Judgment and Permanent Injunction. Applying AMG Capital, the

defendants aver that the FTC did not have the authority under Section 13(b)

to seek $15.9 million monetary equitable relief, thus it would be inequitable

to allow the FTC to continue to collect on the later $40 million 2017

Contempt Judgment.

      The defendants contend that they are not seeking to vacate the 2017

Contempt Judgment, but rather to modify it in light of this recent change in

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the law. [Id. at 11]. They want a portion of the collected funds returned to

them. They challenge the FTC’s consumer redress program and assert that a

portion of the collected funds have likely not actually reached the consumers.

The defendants want those funds to be “used to compensate consumers who

are the intended beneficiaries of the $40 Million Judgment, with the

remaining inevitable excess returned to Defendants, along with any of the

over $2 million already collected in satisfaction of the $40 Million Judgment

that is not distributed.” [Doc. No. 1101-1 at 27].

      The FTC agrees with the defendants that the $40 million 2017

Contempt Judgment “flows from” the 2008 Judgment and Permanent

Injunction, just not in the manner the defendants contend. The FTC

maintains that the $40 million 2017 Contempt Judgment is based on the

defendants’ violations of the injunction included in the 2008 Judgment and

Permanent Injunction. According to the FTC, the injunction was obtained

pursuant to Section 13(b) of the Federal Trade Commission Act, and AMG

Capital has no bearing on the injunction portion of the 2008 Judgment and

Permanent Injunction. The FTC also avers that Rule 60(b)(5) does not apply

here because the $40 million 2017 Contempt Judgment is retroactive rather

than prospective as it awards monetary damages for past wrongdoing.




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      The court agrees. The Eleventh Circuit has explained that “rule

60(b)(5) applies only to judgments that have prospective effect as contrasted

with those that offer a present remedy for a past wrong . . . judgments

operate ‘prospectively’ within the meaning of Rule 60(b)(5) if they involve the

supervision of changing conduct or conditions.” Griffin v. Sec’y, Florida Dept.

of Corr., 787 F.3d 1086, 1091 (11th Cir. 2015) (internal quotations and

citations omitted). “[T]he standard . . . in determining whether an order or

judgment has prospective application within the meaning of Rule 60(b)(5) is

whether it is ‘executory’ or involves ‘the supervision of changing conduct or

conditions.’” Twelve John Does v. District of Columbia, 841 F.2d 1133, 1139

(D.C. Cir. 1988). Money judgments are not prospective for purposes of Rule

60(b)(5). Gibbs v. Maxwell House, A Div. of General Foods Corp., 738 F.2d

1153, 1156 (11th Cir. 1984) (ruling “[t]hat plaintiff remains bound by the

dismissal is not a ‘prospective effect’ within the meaning of rule 60(b)(5) any

more than if plaintiff were continuing to feel the effects of a money judgment

against him.”); Stokors S.A. v. Morrison, 147 F.3d 759, 762 (8th Cir. 1998)

(“conclud[ing] that Rule 60(b)(5)'s equitable leg cannot be used to relieve a

party from a money judgment, and hold[ing] that the district court abused its

discretion in granting relief to [the defendant] under this provision”).




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      As for the defendants’ argument that it is no longer equitable to enforce

the 2017 Contempt Judgment against them because there have been delays

in implementing the consumer redress program, that too is unavailing. The

defendants have raised a similar argument before in this case. In ruling on

the defendant’s earlier motion for relief pursuant to Rule 60(b)(5), the court

found that “the standard for relief pursuant to Rule 60(b)(5)” had not been

met. FTC v. Nat’l Urological Group, Inc., No. 1:04-CV-3294-CAP, 2014 WL

12797855, at *1 (N.D. Ga. Aug. 19, 2014). There, the court noted that “the

effectiveness of consumer redress efforts diminishes over time. Because of the

time it has taken the FTC to collect the funds—more than 5 years—the FTC's

ability to use the funds to make affected consumers whole has been

impaired.” Id. It has now been an additional 7 years since those words were

written. It is clear from the filings in this case that the FTC continues to

actively pursue funds from the defendants, and that the defendants continue

to refuse to voluntarily pay on the judgment. On December 10, 2019, alone,

the FTC filed 46 separate motions for writs of continuing garnishment. In

2020, almost $1 million was deposited into the court registry as a result of

the FTC’s garnishment activities. See Docket Entries dated Sept. 29, 2020

and October 21, 2020. “The standard for relief under Fed. R. Civ. P. 60(b)(5)

is an exacting one and requires a strong showing. The moving party must

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show that a changed condition requires modification or that the law or facts

no longer require enforcement of the order . . . Rule 60(b)(5) is not an

opportunity for a party to reargue an issue that has already been argued or

present facts which were available for presentation at the time of the original

judgment.” Altendorf v. Dodson Int’l Parts, Inc., No. 04-4032-JAR, 2004 U.S.

Dist. LEXIS 19587, at *9 (D. Kansas Sept. 24, 2004).Again, the standard for

relief pursuant to Rule 60(b)(5) has not been met.

      B. The defendants’ request for relief pursuant to Federal Rule
         of Civil Procedure 60(b)(6)

      The catchall provision of Rule 60(b) authorizes relief from

judgment based on “any other reason that justifies relief.” Fed.R.Civ.P.

60(b)(6). The purpose of Rule 60(b) is “to strike a delicate balance between

two countervailing impulses: the desire to preserve the finality of judgments

and the incessant command of the court’s conscience that justice be done in

light of all the facts.” Safari Programs, Inc. v. CollectA Int’l Ltd., 686 F. App’x

737, 743 (11th Cir. 2017) (quoting Seven Elves, Inc. v. Eskenazi, 635 F.2d 396,

401 (5th Cir. Jan. 1981)).

      The defendants aver that “it would be unjust to give prospective effect

to a judgment now known to be improper.” [Doc. No. 1103 at 3, internal

quotation omitted]. The defendants argue that “everything that flowed from



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the FTC’s initial pleading – including entry of the $15.9 Million Judgment

and the $40 Million Judgment – was premised on an incorrect interpretation

of the FTC Act.” [Doc. No. 1101-1 at 20-21]. The court is not persuaded by

this argument. The $40 million 2017 Contempt Judgment is a compensatory

remedy imposed after the defendants violated the injunction in this case by

continuing to make representations through a national advertising campaign

about four weight-loss products (Fastin, Stimerex-ES, Benzedrine, and a

reformulated version of Lipodrene) that lacked adequate substantiation in

violation of Sections II and VII of the injunction.3 The Supreme Court’s

ruling in AMG Capital has no bearing on the injunction in this case. As the

Supreme Court remarked, its task in AMG Capital was to answer the

question “Did Congress, by enacting § 13(b)’s words, ‘permanent injunction,’

grant the Commission authority to obtain monetary relief directly from

courts, thereby effectively bypassing the process set forth in § 5 and § 19 [of

the Federal Trade Commission Act]?” 141 S. Ct. 1341, 1347 (2021). The

Court emphasized that the FTC can seek an injunction pursuant to Section



3The FTC also sought a separate sanction of $34,441,227 for the defendants’
violation of Section VI on the injunction. The court declined to impose this
sanction, having determined it would be duplicative because there was an
overlap in time in which the defendants violated Sections II, VI, and VII of
the injunction. [Doc. No. 966 at 129].

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13 of the Federal Trade Commission Act, even while a parallel administrative

procedure is pending. Id. at 1349.4

      Thus, the court does not agree with the defendants that “the Supreme

Court’s decision in AMG Capital is dispositive – equitably, the FTC cannot

continue to collect over $40 million to which it was never entitled in the first

place.” [Doc. No. 1101-21]. Other courts have recognized that AMG Capital

has no bearing on contempt sanctions based on violations of an injunction.

FTC v. Noland, No. CV-20-00047-PHX-DWL, 2020 WL 7075241, at * 4 (D.

Ariz. Dec. 3, 2020) (“the FTC may still seek monetary relief through the

contempt action, regardless of the outcome of AMG Capital”); FTC v.

Acquinity Interactive, LLC, No. 14-60166-Civ-Scola, 2021 WL 3603594, at *6 )

(S.D. Fla. Aug. 13, 2021) (finding that the FTC’s tactic of seeking monetary

relief via civil contempt “in the wake of the AMG decision is not an

impermissible ‘end-run’ around a Supreme Court decision”); In re Sanctuary

Belize Litigation, No. PJM 18-3309, 2021 WL 1117763, at *1 (D. Md. March

24, 2021) (determining that any findings as to contempt liability would not be


4The Eleventh Circuit has held that disgorgement of gross receipts is an
appropriate contempt sanction. FTC v. Leshin, 719 F.3d 1227, 1237 (11th
Cir. 2013). Indeed, the defendants do not argue that the sanction was
inappropriate, and the court’s ruling was subsequently affirmed. [Doc. No.
995].


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affected by the decision in AMG Capital). “Rule 60(b)(6) motions must

demonstrate “that the circumstances are sufficiently extraordinary to

warrant relief. Even then, whether to grant the requested relief is . . . a

matter for the district court's sound discretion.” Cano v. Baker, 435F.3d 1337,

1342 (11th Cir. 2006) (quoting Toole v. Baxter Healthcare Corp., 235 F.3d

1307, 1317 (11th Cir. 2000)). The ruling in AMG Capital does not constititute

an exceptional circumstance for relief under Rule 60(b)(6).

      The defendants’s complaints about the consumer redress program also

do not constitute exceptional circumstances warranting Rule 60(b)(6) relief.

As indicated above and in the court’s order of August 19, 2014, ruling on a

similar argument, “[t]he effectiveness of the consumer redress program has

been hindered by the defendants' lack of cooperation. The court finds that the

FTC has administered the consumer redress program in a prompt and

responsible manner considering the circumstances.” FTC v. Nat’l Urological

Group, Inc., No. 1:04-CV-3294-CAP, 2014 WL 12797855, at *1 (N.D. Ga. Aug.

19, 2014).

      C. The defendants’ request for an accounting of the garnished
         funds

      The defendants seek an accounting of the funds collected on both the

2008 Judgment and Permanent Injunction and the 2017 Contempt



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Judgment. They contend that the money collected on these judgments must

be returned to consumers, otherwise the judgments function as improper

fines or punitive assessments. To that effect, they have repeatedly attacked

the consumer redress program, at least as far back as 2012. Indeed, they

spend a significant portion of the current motion regurgitating their prior

arguments.

      The 2008 Judgment and Permanent Injunction prohibits the

defendants from challenging how funds collected on the $15 million monetary

relief portion of the judgment are distributed or applied. Section IX(D) of the

judgment states:

      In the event that the Commission in its sole discretion
      determines that direct redress to consumers is wholly or partially
      impracticable or funds remain after redress is completed, the
      Commission may apply any remaining funds for such other
      equitable relief (including consumer information remedies) as it
      determines to be reasonably related to the practices of the
      Defendants and NICWL [National Institute for Clinical Weight
      Loss, Inc.], as alleged in the Complaint. Any funds not used for
      such equitable relief shall be deposited to the United States
      Treasury as disgorgement. Defendants and NICWL shall have
      no right to challenge the Commission’s choice of remedies under
      this Paragraph or the manner of distribution chosen by the
      Commission. No portion of any payments under the judgment
      herein shall be deemed a payment of any fine, penalty, or
      punitive assessment.

[Doc. No. 230 at 18-19]. Thus, it is unclear to the court why the defendants

seek an accounting of the garnished funds pertaining to this judgment when

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their arguments in doing so suggest they are in fact challenging the choice of

remedies and manner of distribution of funds in contravention of the

judgment. Furthermore, the defendants have indicated that they do not seek

return of the bulk of the collected funds, and they agree that AMG Capital

does not apply retroactively to the 2008 Judgment and Permanent

Injunction.

      The defendants suggest that any undisbursed funds collected toward

the judgment should be applied to the 2017 Contempt Judgment, yet Section

IX(D) above clearly states that any funds not used for equitable relief shall be

deposited in the U.S. treasury as disgorgement. Also, the consumers who

were harmed by the defendants’ violations of the 2008 Judgment and

Permanent Injunction are not the same consumers who were harmed by the

defendants’ actions that precipitated this case, as evidenced by the fact that

the 2017 Contempt Judgment concerned different products than those

referenced in the FTC’s complaint and the 2008 Judgment and Permanent

Injunction.5 Both judgments concern consumer redress. The defendants

have not provided the court with any authority, nor is the court aware of any,



5One of the four products referenced in the contempt proceedings was a
reformulated version of Lipodrene. Liprodrene was one of the original three
products at issue in this case.

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that allows for taking the proceeds from one fraud to compensate victims of

another fraud. Doing so would in effect be a bizarre type of Ponzi scheme for

payment of judgments.

      The parties agree that the $40 million 2017 Contempt Judgment is not

close to being satisfied. In their motion, the defendants refer to two motions

for garnishment filed by the FTC in May 2020, as well as docket entries

reflecting the deposits of garnished funds into the court registry. The

defendants remark that “[a]ccording to the FTC itself, over $39 million of the

$40 Million Judgment remains unsatisfied.” [Doc. No. 1101-1 at 7]. For its

part, the FTC states that it “has successfully garnished” $2,291,087.97

toward the $40 million 2017 Contempt Judgment. [Doc. No. 1102 at 14].

Thus, the defendants are aware of how much has been collected and the

balance that remains outstanding. The defendants have provided the court

with no legal authority for ordering an accounting. The court reminds the

defendants that they may pursue an avenue outside of this court, such as

submitting a Freedom of Information Act request, to obtain an accounting

from the FTC.




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III.   Conclusion

       For the reasons expounded above, the court DENIES the motion for

relief from a judgment and for an accounting filed by the defendants Hi-Tech,

Wheat, and Smith. [Doc. No. 1101].

       SO ORDERED this 30th day of September, 2021.


                                     /s/CHARLES A. PANNELL, JR.
                                     CHARLES A. PANNELL, JR.
                                     United States District Judge




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